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                                     Document      Page 1 of 5




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                           )   CASE NO. 19-63943-WLH
                                                  )
 LEMARCUS ALLISON,                                )   CHAPTER 13
                                                  )
                DEBTOR.                           )   JUDGE HAGENAU

                           NOTICE OF RESCHEDULED
            341 MEETING OF CREDITORS AND CONFIRMATION HEARING

       PLEASE TAKE NOTICE that, Lemarcus Allison, Debtor, has filed this NOTICE OF
RESCHEDULED 341 MEETING OF CREDITORS AND CONFIRMATION HEARING, on
Thursday, December 05, 2019 (Doc No 37).
       PLEASE TAKE FURTHER NOTICE that, the Court will hold the RESCHEDULED 341
MEETING OF CREDITORS hearing on Third Floor − Courtroom 368, Monday, January 06,
2020 at 3:30 p.m., at the Richard B. Russell Federal Building and United States Courthouse located
at
                              Richard B. Russell Federal Building and
                                     United States Courthouse
                                     75 Ted Turner Drive, SW
                                        Atlanta, GA 30303

       PLEASE TAKE FURTHER NOTICE that, the Court will hold the RESCHEDULED
CONFIRMATION hearing in Courtroom 1403 on Wednesday, February 12, 2020 at 1:45 p.m.,
at the Richard B. Russell Federal Building and United States Courthouse located at
                              Richard B. Russell Federal Building and
                                     United States Courthouse
                                     75 Ted Turner Drive, SW
                                        Atlanta, GA 30303
       Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.) If you do not want the court to grant the
relief sought in these pleadings or if you want the court to consider your views, then you and/or your
attorney must attend the hearing.
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       You may also file a written response to the pleading with the Clerk at the address stated
below, but you are not required to do so. If you file a written response, you must attach a certificate
stating when, how and on whom (including addresses) you served the response. Mail or deliver your
response so that it is received by the Clerk at least two business days before the hearing.


The address of the Clerk's Office is

                                       United States Bankruptcy Court
                                                 Suite 1340
                                         75 Ted Turner Drive, SW
                                           Atlanta, Georgia 30303


       You must also mail a copy of your response to the undersigned at the address stated
 below.
                                       Medley & Associates, LLC
                                              Suite 1450
                                        2727 Paces Ferry Road
                                          Atlanta, GA 30339

Dated: Thursday, December 05, 2019


                                                       Respectfully Submitted,

                                                            /s/_Leonard R. Medley, III
                                                       Leonard R. Medley, III,
                                                       Attorney for Debtor
                                                       Georgia Bar No. 500685
 Medley & Associates, LLC
 Suite 1450
 2727 Paces Ferry Road
 Atlanta, GA 30339
 (770) 319-7592
 Fax: (770) 319-7594
 Email: leonard@mkalaw.com
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                           )    CASE NO. 19-63943-WLH
                                                  )
 LEMARCUS ALLISON,                                )    CHAPTER 13
                                                  )
                 DEBTOR.                          )    JUDGE HAGENAU

                                  CERTIFICATE OF SERVICE

       I, Leonard R. Medley, III, hereby certify under penalty of perjury that I am more than 18
years of age, and that I served a copy of the within “NOTICE OF RESCHEDULED 341 MEETING
OF CREDITORS AND CONFIRMATION HEARING,” filed in this bankruptcy case upon the
following by first class U. S. Mail, with adequate postage prepaid on the following persons or entities
at the addresses stated:

  CHAPTER 13 TRUSTEE                     UNITED STATES                         DEBTOR
   Nancy J. Whaley, Standing                 TRUSTEE                        Lemarcus Allison
         Ch. 13 Trustee                      Office of the                2200 Fairburn Rd SW
  303 Peachtree Center Avenue            United States Trustee             Atlanta, GA 30331
           Suite 120,                362 Richard Russell Building
     Suntrust Garden Plaza             75 Ted Turner Drive, SW
       Atlanta, GA 30303                  Atlanta, GA 30303

        NOTICE OF                           NOTICE OF
      APPEARANCE                           APPEARANCE
     Lisa F. Caplan, Esq.                 Quicken Loans Inc.
     Rubin Lublin, LLC              Attn: A. Michelle Hart Ippoliti
  3145 Avalon Ridge Place,           c/o McCALLA RAYMER
           Suite 100                  LEIBERT PIERCE, LLC
 Peachtree Corners, GA 30071           1544 Old Alabama Road
                                         Roswell, GA 30076


             SUPPLEMENTAL MAILING MATRIX ON FOLLOWING PAGES

Dated: Thursday, December 05, 2019

                                                            /s/_Leonard R. Medley, III
                                                       Leonard R. Medley, III,
                                                       Attorney for Debtor
                                                       Georgia Bar No. 500685
                                                       Medley & Associates, LLC
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                                 Document      Page 4 of 5

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                         CaIcon Mutual Mortgage, Inc.
                         250 Montrose Drive
                         McDonough, GA 30253



                         CalCon Mutual Mortgage LLC
                         1 Corporate Drive, Ste 360
                         Lake Zurich, IL 60047-8945



                         Calcon Mutual Mortgage, LLC
                         3131 Camino Del Rio N
                         #1680
                         San Diego, CA 92108-5755



                         McCalla Raymer Pierce, LLC
                         1544 Old Alabama Road
                         Roswell, GA 30076-2102



                         Quicken Loans Inc.
                         Bankruptcy Team
                         635 Woodward Ave.
                         Detroit, MI 48226-3408



                         Quicken Loans, Inc.
                         3034 Dogwood Drive
                         Atlanta, GA 30354



                         TCF National Bank
                         250 Montrose Drive
                         McDonough, GA 30253
Label Matrix forCase     19-63943-wlh
                  local noticing               Doc 37    Filed
                                                    Lemarcus     12/05/19 Entered 12/05/19 11:02:29
                                                             Allison                        Heather D. BockDesc Main
113E-1                                                   Document
                                                    2200 Fairburn Rd SW  Page 5 of 5        McCalla Raymer Leibert Pierce LLC
Case 19-63943-wlh                                    Atlanta, GA 30331-5039                               1544 Old Alabama Road
Northern District of Georgia                                                                              Roswell, GA 30076-2102
Atlanta
Thu Dec 5 10:36:20 EST 2019
CalCon Mutual Mortgage LLC                           Calcon Mutual Mortgage, Inc.                         Calcon Mutual Mortgage, LLC
1 Corporate Drive, Ste 360                           250 Montrose Drive                                   3131 Camino Del Rio N
Lake Zurich, IL 60047-8945                           McDonough, GA 30253-4242                             #1680
                                                                                                          San Diego, CA 92108-5755


Lisa F. Caplan                                       A. Michelle Hart Ippoliti                            Quicken Loans Inc.
Rubin Lublin, LLC                                    McCalla Raymer Leibert Pierce, LLC                   Bankruptcy Team
Suite 100                                            1544 Old Alabama Road                                635 Woodward Ave.
3145 Avalon Ridge Place                              Roswell, GA 30076-2102                               Detroit, MI 48226-3408
Peachtree Corners, GA 30071-1570

Quicken Loans, Inc.                                  John D. Schlotter                                    TFC National Bank
3034 Dogwood Drive                                   McCalla Raymer Pierce, LLC                           250 Montrose Drive
Hapeville, GA 30354-1119                             1544 Old Alabama Road                                McDonough, GA 30253-4242
                                                     Roswell, GA 30076-2102


Wells Fargo Bank, N.A., Wells Fargo Card Ser         Nancy J. Whaley
PO Box 10438, MAC F8235-02F                          Nancy J. Whaley, Standing Ch. 13 Trustee
Des Moines, IA 50306-0438                            303 Peachtree Center Avenue
                                                     Suite 120, Suntrust Garden Plaza
                                                     Atlanta, GA 30303-1216




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)CalCon Mutual Mortgage LLC                        (u)Quicken Loans Inc.                                (u)Suntrust (VISA Credit Card)




End of Label Matrix
Mailable recipients    13
Bypassed recipients     3
Total                  16
